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                        IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION



GRECIA GARCIA, Individually and                   §
as Next Friend of YR, a minor                     §
                                                  §
vs.                                               §   C.A. NO.
                                                  §
HIRSCHBACH MOTOR LINES, INC.                      §
and SAMUEL TAYLOR                                 §


                          PLAINTIFF'S ORIGINAL COMPLAINT



TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:


       COMES NOW, Grecia Garcia, Individually and as Next Friend ofYR, a minor, ("Plaintiff'),

by and through undersigned counsel, complaining of Hirschbach Motor Lines, Inc. and Samuel

Taylor ("Defendants"), and for cause would showt as follows:

                                             I. Parties


1.     Plaintiff Grecia Garcia is a resident citizen of the state of Texas.


2.     Minor YR is the daughter of Plaintiff Grecia Garcia and is a resident citizen of the state of

       Texas.


3.     Defendant Hirshbach Motor Lines, Inc. is an Iowa corporation doing business in the state of

       Texas and has a regional office in Denton,, Texas, but does not currently have designated

       agent upon whom service may be had upon causes ofaction arising out ofsuch business done

       in this State.' Forthosereasons, service of process is to be made pursuant to § 17.044, Civ.


       ' Texas Secretary of State records reflect forfeiture of the corporation's charter on April
15,2016.

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     Prac. & Rem. Code, by serving the Secretary of State of the State of Texas as the agent for

     Hirschbach Motor Lines. This suit arises out of business done on a regular basis by

     Hirschbach Motor Lines in this state, and under the circumstances, Hirschbach Motor Lines

     has appointed the Texas Secretary of State as its agent upon whom service of process may

     be had in this action. The Secretary of State is requested to forward a copy of process and

     this petition to the President or Registered Agent (Brian Kohlwes) of Hirschbach Motor

     Lines at its home office and principal place ofbusiness at 2460 Kerper Blvd., Dubuque, Iowa

     52001.


4.   Defendant Samuel Taylor is an individual and resident of West Virginia. While said

     Defendant is not a resident ofthis state and does not maintain a regular place of business in

     Texas, he committed a tort in this state where he was doing business at the time the motor

     vehicle accident made the basis of this lawsuit occurred. For those reasons, service of

     process is to be made pursuant to § 17.044, Civ. Prac. & Rem. Code, by serving the Secretary

     of State of the State of Texas as the agent for Samuel Taylor. The Secretary of State is

     requested to forward a copy of process and this petition to Samuel Taylor at his address of

     661 Piney Branch Place, Princeton, West Virginia 24739.

                                  II. Venue and Jurisdiction


5.   This is a negligence action arising out of a vehicular accident that occurred in the Southern

     District of Texas where Plaintiff also resides.


6.   The Defendants have their principal places of business in states other than Texas.

     Jurisdiction, therefore, attaches pursuant to 28 U.S.C. §1332 since there is diversity ofparties

     and the amount in controversy exceeds seventy-five thousand dollars ($75,000.00).
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                          III. Background and Nature of the Case

7.    This is a negligence case in which Plaintiff seeks monetary relief over $1,000,000.00 and a

      demand for judgment for all other relief to which Plaintiff may be entitled.

8.    On November 14,2016, at approximately 11:30 a.m., Plaintiffand her minor daughter, YR,

      were passengers in a 2002 Jeep Grand Cherokee traveling westbound at or near the 8100

      block of La Porte Freeway in Harris County, Texas.

9.    The 2002 Jeep Grand Cherokee was being driven by Plaintiffs husband, Edgar Rodriguez.

10.   At the same time, an eighteen-wheeler ovmed by Hirschbach Motor Lines, Inc. was traveling

      southbound at or near the 1300 block of Broadway Street in Harris County, Texas, near the

      intersection v^th La Porte Freeway.

11.   The eighteen-wheeler was being driven by Samuel Taylor.

12.   At all times relevant to this matter, Samuel Taylor was an employee of Hirschbach Motor

      Lines, Inc.

13.   At all times relevant to this matter, Samuel Taylor was acting within the course and scope

      of his employment with Hirschbach Motor Lines, Inc.

14.   The intersection of La Porte Freeway and Broadway Street is controlled by a traffic light

      signal.

15.   The Grand Cherokee in which Plaintiffand her minor daughter, YR, were passengers entered

      the intersection of La Porte Freeway and Broadway on a green light signal.

16.   While the Grand Cherokee was traveling westbound through the intersection, SamuelTaylor

      drove through a red light signal, entering the intersection occupied by the Grand Cherokee

      and resulting in a collision between the Grand Cherokee and eighteen-wheeler.
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17.   As a result of the collision. Plaintiff and her minor daughter, YR, were seriously injured.

18.   The negligence and gross negligence of Defendants Hirschbach Motor Lines, Inc. and

      Samuel Taylor were a proximate cause of the injuries incurred by Plaintiff and her minor

      daughter, YR, and the resulting damages.

                                   CAUSES OF ACTION


                               IV. Negligence of Samuel Tavlor

19.   Plaintiff incorporates by this reference each and all of the allegations contained in the

      preceding paragraphs of this complaint as though fully set forth here.

20.   Defendant Hirschbach Motor Lines, Inc.'s employee, Samuel Taylor, had a duty to act as a

      reasonable and prudent commercial vehicle operator would have acted under the same or

      similar circumstances and to exercise ordinary care.

21.   Samuel Taylor breached his duty ofcare and was thus negligent by committing the following

      acts and/or omissions:


      a.     Failing to keep a proper lookout;

      b.     Failing to timely apply his brakes;

      c.     Disregarding a stop and go signal;

      d.     Entering an intersection when unsafe;

      e.     Driving at an unsafe speed;

      f.     Operating a vehicle in a reckless manner; and

      g.     Violating applicable Texas Transportation Code provisions.

22.   The above negligent of Samuel Taylor was a proximate cause of the injuries and resulting

      damages incurred by Plaintiff and her minor daughter, YR.
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                           V« Negligence Per Se of Samuel Tavlor

23.   Plaintiff incorporates by this reference each and all of the allegations contained in the

      preceding paragraphs of this complaint as though fully set forth here.

24.   The negligent acts and omissions of Samuel Taylor noted above constitute violations of

      Texas codes and statues including, but not limited to, Tex. Trans. Code § 545.151.

25.   Tex. Trans. Code §545.151 was enacted to protect persons such as Plaintiffand her minor

      daughter, YR.

26.   The injuries incurred by Plaintiffand her minor daughter, YR, are the type that Tex. Trans.

      Code § 545.151 was intended to prevent.

27.   Finding Samuel Taylor liable for in this matter for his violation of Tex. Trans. CODE §

      545.151 is equitable and appropriate under the circumstances of this case.

28.   The above negligence per se of Samuel Taylor was a proximate cause of the injuries and

      resulting damages incurred by Plaintiff and her minor daughter, YR.

                      VI. Negligence of Hirschbach Motor Lines. Inc.

29.   Plaintiff incorporates by this reference each and all of the allegations contained in the

      preceding paragraphs of this complaint as though fully set forth here.

30.   At all relevant times, Hirschbach Motor Lines, Inc. was the owner of the eighteen-wheeler

      involved in the subject collision and the employer of Samuel Taylor, was acting within the

      course and scope of his employment with Hirschbach Motor Lines, Inc. at the time of the

      collision.


31.   Hirschbach Motor Lines, Inc. is vicariously liable for the conduct of its employee, Samuel

      Taylor, relating to the subject accident.
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32.   Each of the above negligent acts and/or omissions on the part of Hirschbach Motor Lines,

      Inc.'s employee, Samuel Taylor, singularly and cumulatively, was a proximate cause ofthe

      collision and the resulting injuries and damages to Plaintiff and her minor daughter, YR.

33.   Hirschbach Motor Lines, Inc. was negligent in failing to properly train its employee, Samuel

      Taylor, on safe driving practices and safe operation of its eighteen-wheeler.

34.   The above negligence ofHirschbach Motor Lines, Inc. was a proximate cause ofthe injuries

      and resulting damages incurred by Plaintiff and her minor daughter, YR.

                          VIL Gross Negligence of Samuel Tavlor

35.   Plaintiff incorporates by this reference each and all of the allegations contained in the

      preceding paragraphs of this complaint as though fully set forth here.

36.   The conduct of Samuel Taylor, as described above, constitutes gross negligence, as that

      terms are defined by Texas law. That is, when viewed objectively from the standpoint of

      Defendant, such acts and omissions involved an extreme degree of risk, considering the

      probability and magnitude of the potential harm to others, and Defendant had actual,

      subjective awareness of the risk involved, but nevertheless proceeded with a conscious

      indifference to the rights, safety and welfare of others. As such. Plaintiffs are entitled to

      recover exemplary/punitive damages as allowed by law for this conduct.

                                       VIIL DAMAGES


37.   Plaintiff incorporates by this reference each and all of the allegations contained in the

      preceding paragraphs of this complaint as though fully set forth here.

38,   Because ofthe actions and conduct of Defendants as set forth above. Plaintiffand her minor

      daughter, YR, sustained serious bodily injuries and damages.
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39.   Because ofthe nature and severity ofthe injuries sustained, Plaintiffand her minor daughter,

      YR, have suffered physical pain and mental anguish, physical impairment, disfigurement,

      and loss of life's enjoyment and, in reasonable probability, will continue to suffer physical

      pain and mental anguish, physical impairment, disfigurement, and loss of life's enjoyment

      in the future.


40.   Plaintiff and her minor daughter, YR, have required medical treatment in the past and will,

      in reasonable probability, require additional medical treatment in the future. Medical care

      expenses incurred by Plaintiffand her minor daughter, YR, for such medical treatment in the

      past and those that will in reasonable probability be incurred in the future have been and will

      be reasonable medical care expenses made necessary by the incident in question.

41.   PlaintiffGrecia Garcia seeks personal injury damages on her own behalfand on behalfofher

      minor daughter, YR, in amounts the jury deems to be fair and reasonable consisting of past

      and future physical pain and mental anguish, past and future loss of earnings and earning

      capacity, past and future disfigurement, past and future physical impairment and past and

      future medical care and expenses.

42.   Plaintiffalso seeks exemplary/punitive damages as a result ofthe gross negligence described

      above, and if the jury so finds. Plaintiffs seek an amount the jury deems to be fair and

      reasonable.


43.   Plaintiff also seeks recovery for all costs of court and pre-judgment and post-judgment

      interest in the maximum amount allowed by law.
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                                     IX. Reservation of Rights

44.    Plaintiff incorporates by this reference each and all of the allegations contained in the

       preceding paragraphs of this complaint as though fully set forth here.

45.    These allegations against Defendants Hirschbach Motor Lines, Inc. and Samuel Taylor are

       made acknowledging that investigation and discovery, although undertaken, are continuing

       in this matter. As further investigation and discovery are conducted, additional facts will

       surely be uncovered that may and probably will necessitate further, additional, and/or

       different allegations, including the potential of adding additional parties to the case or

       dismissing parties from the case. The right to do so is, under Texas law, expressly reserved.

                                     X. Pre-Judgment Interest

46.    Plaintiff incorporates by this reference each and all of the allegations contained in the

       preceding paragraphs of this complaint as though fully set forth here.

47.    Plaintiffwould additionally say and show that he is entitled to recover pre-judgment interest

       in accordance with law and equity as part ofhis damages herein, and Plaintiffhere and now

       sues for recovery ofpre-judgment interest as provided by law and equity under the applicable

       provisions of the laws of the State of Texas.

                                         XI. Jury Demand


48.    Plaintiff hereby demands a trial by jury.

                                              PRAYER


       WHEREFORE, Plaintiff prays that Defendants be cited to appear herein and answer, and

upon final hearing. Plaintiff be awarded a judgment against the Defendants, jointly and severally,

for actual damages (past and future) as set forth above and/or to the fullest extent allowed by law and


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which the jury deems tobefair and reasonable; exemplary/punitive damages asdescribed above in

an amount the jury deems to be fair and reasonable; costs of court; pre-judgment interest; post-

judgment interest atthe highest lawful rate until the judgment is satisfied infull; and for any and all
other relief, at law and in equity, which the jury deems to be fair and reasonable, and to which

Plaintiff may be justly entitled.

                                               Respectfully submitted,

                                               THE AMMONS LAW FIRM, L.L.P.



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                                                       A TTORNEY FOR PLAINTIFF
